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                 IN THE UNITED STATES DISTRICT COURT
                       TEXAS WESTERN DISTRICT                              2018   JLQ 20 F   i   08
                           AUSTIN DIVISION

 DENNIS RYLAN RIZER                             §
                                                    CASE   Ai 8 CV 0 6 7 LY
 v.                                          § COMPLAINT FOR DAMAGES
                                             §FOR
COUNTY OF BASTROP, TEXAS                     §
BASTROP INDEPENDENT                          §      1. VIOLATIONS OF THE
SCHOOL DISTRICT,                             §      RACKETEER INFLUENCEI)
335th
      JUDICIAL DISTRICT,                     §      AND CORRUPT
JUDGE REVA TOWSLEE-                          §      ORGANIZATIONS ACT
CORBETT, BASTROP COUNTY                     §       ["RICO"] (18 U.S.C. §1961 et.seq.)
SHERIFF'S DEPARTMENT,                       §       2. AIDING AND ABETTING
TERRY PICKERING,                            §       PRIMARY CONTRAVENTION
BASTROP CENTRAL APPRAISAL                   §       OF RICO SECTION 1962(c)
DISTRICT, BASTROP COUNTY                    §       3. AIDING AND ABETTING
TAX ASSESSOR/COLLECTOR,                     §       RICO SECTION 1962(d)
JIM WITHER, RICHARD PETREE,                 §       CONSPIRACY
LINDA HARMON, BARRY                         §       4. VIOLATIONS OF THE
EDWARDS,                                    §       CIVIL RIGHTS ACT (42 U.S.C.
      Defendants.                           §       §1983 et seq)
                                            §       5. TEXAS THEFT LIABILITY
                                            §       ACT (Texas Civil Code §134.002-
                                            §       03)
                                            §       6. FRAUD
                                            §       7. CONVERSION
                                            §       8. INTENTIONAL INFLICTION
                                            §       OF EMOTIONAL DISTRESS
                                            §
                                            §       DEMAND FOR JURY TRIAL

                                 COMPLAINT
Dennis Rylan Rizer, (hereinafter "Claimant"), files his civil RICO claim
                                                                              and
notices any and all parties, including but not limited to named defendants, of his
RICO claim against them.

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                               NATURE OF CLAIM

 1.    This is a civil RICO claim brought by Dennis Rylan Rizer, (hereinafter
 "Claimant").
 2.    Claimant claims that Defendants, (hereinafter "the enterprise") operated a
 criminal enterprise under color of law.
3.   For purposes of this claim, Claimant asserts that all the Individual
Defendants operated as a continuing unit that functions with a common purpose as
it relates to Claimant.
4.     The enterprise had a purpose, that being the taking of Claimant's property in
order to enrich themselves or the enterprise.
5.    The enterprise had relationships among those associated with the enterprise.
6.    Each depended on the other in order to effectuate the scheme.
7.     The enterprise had longevity sufficient to permit those associates to pursue
the enterprise's purpose.
8.    The enterprise caused Claimant to incur irreparable harm.
9.    The enterprise engaged in the taking and conversion of Claimant's property
as enumerated in 18 U.S.C. § 1961.
10.   The enterprise committed fraud.
11.   The enterprise committed mail fraud.
12.   The enterprise counterfeited securities.
13.   The enterprise committed conversion.
14    The enterprise committed trespass.
15.   The enterprise caused Claimant to become homeless.
16.   The enterprise has caused and continues to cause Claimant harm.




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 17.     This claim is properly brought pursuant to the Racketeer Influenced and
Corrupt Organizations Act. (RICO).
                       PARTIES, JURISDICTION AND VENUE
 18.     Claimant is a man who lives in Texas and is endowed with unalienable
Rights.
 19.  At the time of the RICO action Claimant's home and domicile was in
Bastrop County, Texas.
20.      COUNTY OF BASTROP, TEXAS is a person in Bastrop County, Texas
21.  BASTROP COUNTY SHERIFFS DEPARTMENT is a person in Bastrop
County, Texas.
         335th
22.              JUDICIAL DISTRICT COURT is a person in Bastrop County, Texas.
23.  BASTROP CENTRAL APPRAISAL DISTRICT is a person in Bastrop
County, Texas.
24.      BASTROP COUNTY TAX/ASSESSOR is a person in Bastrop County,
Texas.
25.  BASTROP INDEPENDENT SCHOOL DISTRICT is a person in Bastrop
County, Texas.
26.    JIM WITHERS, who is being sued in his individual capacity, was/is an
individual residing and/or employed in the position of Bastrop County Judge in
Bastrop County, Texas.
27.   JUDGE REVA TOWSLEE CORBETT, who is being sued in her individual
capacity, was/is a district judge in the 335th Judicial District who presided in a tax
court in Bastrop County, Texas which concerned the property.
28.   TERRY PICKERING, who is being sued in his individual capacity, was/is
an individual residing in Bastrop County and an elected sheriff of the BASTROP
COUNTY SHERIFF'S OFFICE in Bastrop County, Texas.


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29.    RICHARD PETREE, who is being sued in his individual capacity, was/is an
individual who was an officer or employee of the Bastrop Central Appraisal
District in Bastrop County, Texas.
30.   LINDA HARMON, who is being sued in her individual capacity was/is a
person believed to reside in Bastrop County, and an officer in the Bastrop County
Tax Assessor/Collector's office in Bastrop County, Texas.
31.    BARRY EDWARDS, who is being sued in his individual capacity, was/is
an individual believed to reside in Bastrop County, and an officer/superintendent
of the Bastrop ISD, Bastrop County, Texas.
32.   This is a civil action seeking damages for violations of the Racketeer
Influenced and Corrupt Organizations Act, 18 U.S.C. §1961, et seq ("RICO"),
§1964(c), RICO's civil damages provision, 42 U.S.C. §1983 et seq. ("Civil Rights
Act"), and State of Texas statutory causes of action for violations of the Texas
Theft Liability Act (Texas Civil Practice & Remedies Code § 134.002-03), Texas
Civil Practice & Remedies Code Chapter 110, and common law causes of action
for fraud, conversion, and intentiOnal infliction of emotional distress.
33.    This Court has original subject matter jurisdiction over the federal claims in
this action pursuant to 28 U.S.C. §1331,28 U.S.C. §1343(a), and 18 U.S.C. §1965,
and supplemental jurisdiction over the state law claims pursuant to 28 U.S.C.
§ 1367(a).3.

34.   This Court has personal jurisdiction over the Defendants, all of whom, on
information and belief, reside and/or do business in the State of Texas, within the
Western District.
35.  Additionally, the Court has supplemental jurisdiction of the remaining
Counts as they arise from the same nucleus of facts.




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 36.  Jurisdiction in conveyed on this Court as a federal question pursuant to 18
U.s.c. §1331, 18 U.S.C. §1964(c), RICO's civil damages provision, 42 u.s.c.

 §21B, and Texas      civil   Practice & Remedies code chapter 110 and § 134.02-03.
 37. Additionally, the Court has supplemental jurisdiction of the remaining
counts as they arise from the same nucleus of facts.
38.    Jurisdiction is further conveyed on this Court pursuant to Pub. L. No. 103-
 141, 107 Stat. 1488 and Pub. L. No. 106-274, 114 Stat. 803.
39.   This Court has personal jurisdiction over all Defendants as their actions
occurred in this judicial district.
40.   Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(3), in that,
on information and belief, all individual Defendants reside in and do business in
Bastrop County, Texas, which is within the Western District, and RICO's venue
provision 18 U.S.C. § 1965(a) and (b).
41.   Additionally, the principal events complained of have and will continue to
occur in this District.
                                     THE PROPERTY
42.   The property is described as Lot 30, ESCONDIDO ESTATES ADDITION
in Bastrop County, Texas, according to the map or plat thereof recorded in Plat
Cabinet   1,   Page 66A, Plat Records of Bastrop County, Texas.
43.    With an address of213 Escondido Drive, Del Valle, Texas 78617.
                                NATURE OF THE ACTION
44.   This is an action for damages arising from the Defendant's operation of
a criminal enterprise that, through the use of forged instruments, falsifies
property from non-commercial, non-taxable to taxable commercial property,
commits mail fraud by sending false and misleading statements through the
mails, offers distorted facts and peijured court testimony, issues counterfeit


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securities and engages in unlawful taking of non-commercial, non-taxable
property.
45.    The Defendants have engaged in a longstanding pattern of criminal
conduct against victims who have unalienable Rights to property,
misclassifying property not belonging to banks, bankers and corporations as
taxable property with purported business income, conversion of property,
obtaining unlawful orders to sell non-commercial property in the absence of
ownership of said property and issuing counterfeit securities for sale to the
public.
46.    The Defendants have engaged in extortion and fraud by mailing
falsified statements claiming a fictitious debt, and fraudulently claiming
ownership of another's non-commercial property in order to justify sale of
said property for financial gain.
47.   This longstanding pattern of conduct has inflicted enormous harm on
Claimant.
48.   The enterprise has corrupted the sanctity of the legal process at its core
by abusing their positions of power for illegal financial gain.
49.   The Racketeering Acts were not isolated, but rather were related in that
they had the same or similar purposes and results, participants, victims, and
methods of commissions.
50.   Further, the Racketeering Acts were continuous, occurring on a regular
basis for several decades and resulting in an unlawful taking and sale of
counterfeit securities.
51.   The Acts continue to the present.
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                                            THE FACTS
    52.     The Right to own property is a substantive Right.
    53.   The Right to own property is an unalienable Right as enumerated in the first
    organic law of the United States of America, the Declaration of Independence.
    54.     A substantive Right cannot be taxed.
    55.     An unalienable Right cannot be liened.
    56.  Claimant purchased the property from Charles R. Appleby and wife Cindy
    G. Appleby on August 30, 1985.
    57.     The property was conveyed with a Deed of Trust with Vendor's Lien.
    58.     The Applebys filed a Release of Lien on the property on December 19,
    1986.
    59.  A Declaration of Ownership' was filed in Bastrop County Clerk's records on
    May 25, 2005.
    60.   The Declaration gave notice that the property was non-taxable private
    property.
    61.   The Declaration further noticed that the property was a Sanctuary of His
    Ministry.
    62.Claimant filed another Public Notice2 on March 19, 2010 noticing the public
that the Sanctuary was Private Property and was Tax Exempt.
63.    The Declaration of Ownership sets the fee for Trespass upon the Sanctuary
at $ 10,000.000.00 per trespass.
                  15th
64.         The
             Legislature of the State of Texas on August 21, 1876 defined what
money and property is subject to taxation.




    Exhibit 1, Attached hereto and incorporated herein.
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    Exhibit 2, Attached hereto and incorporated herein.
    Exhibit 3 Attached hereto and incorporated herein.

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 65.   The Texas Constitution was rewritten in 1876 and as can be seen in Article
 8, the writers provided for taxation of personal property "which shall be

 ascertained as may be provided by law."
               15th
 66.    The           Legislature of the State of Texas on August 21,1876 (Act) passed
 such a law.
67.  "An Act defining what money and property is subject to taxation or
exemption, and the mode of listing the same."
68.     Section   1.    Be it enacted by the Legislature of the State of Texas, That all
real and personal property in this State the property of corporations now existing or
may be hereafter created, and the property of all banks or banking companies now
existing or may be hereafter created, and of all bankers, except such as is
hereinafter expressly exempted, is subject to taxation and such property, or the
value thereof, shall be entered in a list of taxable property for that purpose, in a
manner prescribed by this act."
69.   The ACT clearly defined what property is taxable. This Act is what gives
§11.01 of the Texas Tax Code (TTC) authority for ad valorem taxation in Texas.
70.    § 11.01   of the Texas Tax Code (TTC) Real and Tangible Personal Property:
      (a) All real and personal property that this state has jurisdiction to tax is
taxable unless exempt by law.
       (b) This state has jurisdiction to tax real property if located in this state.
       (c) This state has jurisdiction to tax tangible personal property if the property
is
               (1) located in this state for longer than a temporary period;
               (2) temporarily located outside the state and the owner resides in this
state; or
               (3) used continually whether regularly in or irregularly in this state.


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        (d) Tangible personal property that is operated or located exclusively outside
 this state during the year preceding the tax year and on January 1 of the tax year is
 not taxable in this state.
 71.     As can be seen       § 11.01   TCC does not clearly identify what "money and
 property is subject to taxation" as this was defined by the Legislature in 1876.
 72.   § 11.01 also exempts property that is not within the jurisdiction of taxation.

 73.   Claimant's property is not income producing property of a corporation or
 property of a bank or banking company.
 74.     Therefore, Claimant's property is not within the taxing authority of the TTC.
 75.     TTC §101.002. CONSTRUCTION OF CODE. (a) The Code Construction
Act (Chapter 311. Government Code) applies to the construction of each provision
of this title, except as specifically provided by this title. (b) Except as otherwise
provided by statute, the authority and jurisdiction of the state to determine the
subjects and objects of taxation shall extend to the limits of the then current
interpretations of the Texas Constitution and Constitution of the United States of
America (1789) and laws.
76.    Texas Government Code (TGC) §312.005. LEGISLATIVE INTENT. In
interpreting a statute, a court shall diligently attempt to ascertain legislative intent
and shall consider at all times the old law, the evil, and the remedy.
77.   "Legislative facts are those which help the tribunal to determine the content
of law and policy and to exercise its judgment or discretion in determining what
course of action to take. Emerson         v.   State 880 S.W. 2d 759, 764, (Tex.Crim.App.
1994).
78.    "A fundamental rule controlling the construction of a statute is to determine,
if possible, the intent of the legislature as expressed in the language of that Statute.
However, legislative intent is the law itself, and must be enforced if determined
although it may not be consistent with the strict letter of the statute." State v. Dyer,
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145 Tex. 586, 200 S.W.2d 813 (1947); Crimmins v. Lowry, 691 S.W.2d 582 (Tex.

1985).
79.      Therefore a trial Judge when presented with Legislative evidence should
determine the content of law and policy and to exercise its judgment" for the
Legislative Act of the 15th Legislature.
80.      Can TTC    §   33.47 apply to Claimant's property to establish a prima facie
case that it is taxable?
         TTC §33.47. Tax Records as Evidence. (a) In a suit to collect a
      delinquent tax, the taxing unit's current tax roll and delinquent tax roll or
      certified copies of the entries showing the property and the amount of the
      tax and penalties imposed and interest accrued constitute prima facie
      evidence that each person charged with a duty relating to the imposition of
      the tax has complied with all requirements of law and that the amount of
      tax alleged to be delinquent against the property and the amount of
      penalties and interest due on that tax as listed are the correct amounts.
         (b) If the description of a property in the tax roll or delinquent tax roll is
      insufficient to identify the property, the records of the appraisal office are
      admissible to identify the property.
         (c) In a suit to collect a tax, a tax receipt issued under Section 31.075 of
      this code, or an electronic replica of the receipt that states that a tax has
      been paid is prima facie evidence that the tax has been paid as stated by the
      receipt or electronic replica.

81.     Claimant is not a person as defined in section 4 of the Legislative Act of
1876.
82.     The term person whenever used in this act or any other act regulating the
assessment or collection of taxes shall be construed to include firm, company or
corporation."
83.     Ejusdem generis means 'ofthe same kind, class, or nature." Black's Law
Dictionary (6th Edition).     The doctrine states that when interpreting general
words that follow an enumeration of particular or specific things, the meaning of
those general words should be confined to things of the same kind. Lefevers v.

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State, 20 S.W.3d 707, 711 (Tex. Crim. App. 2000); Perez v. State,         11   S.W.3d 218,
221 (Tex. Crim. App. 2000); Thomas v. State, 65 SW. 3d 38 (Tex.Crim.App.
2001).
84.      This definition coincides with Section   1   of the Act which establishes what
property is taxable: "the property of corporations" and "property of all banks or
banking companies".
85.      In such actions, the taxing authority makes out a prima facie case by the
introduction of official tax records and proof of non-payment. Texas Rev.Civ.Stat.
Ann., Art. 7326(Vemon); State        v.   Whittenburg, 153 Tex. 205, 265 S.W.2d 569
(Tex. 1954); East and Mount Houston Independent School District v. South Texas
Lumber Co., 153 Tex. 535, 271 S.W.2d 795 (Tex. 1954).
86.      Once such proof is made, as was indisputably the case here, it is incumbent
upon Taxpayer to show that the tax levied and assessed was not in accordance with
law." City of Orange    v.   Levingston Shipbuilding Co., 258 F.2d 240 (5th Cir. 1958)
87.      This presumption imposes upon the defendant taxpayer the burden of
producing evidence sufficient to justify a finding that the tax situs of the property
was outside the tax authority's jurisdiction. State       v.   Whittenburg, 153 Tex. 205,
209, 265 S.W.2d 569, 572 (Tex.1954).
88.      Defendants introduced prima facie evidence on a presumption that
Claimant's property is within the tax authority's jurisdiction, Claimant, not being a
'person" as described and defined in the Act is not "charged with a duty relating to
the imposition of the tax" therefore Claimant's property is outside the taxing
authority's jurisdiction and is not liable for an ad valorem tax imposed by TTC.
89.      There is no evidence in the record that establishes that Claimant's property
is income producing or the property of a bank, banking company or corporation.




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 90. There is no proof of contract, commercial ownership by BASTROP
 COUNTY, or commercial assessment in the file in Cause No. 9645, COUNTY OF
 BASTROP v. D. RIZER et al.
 91.   The enterprise sold a property it did not own in violation of the Declaration
 of Independence, the Eighth Amendment to the Bill of Rights and the Texas Theft
Liability Act.
 THE INDIVIDUAL DEFENDANTS WERE ALL NECESSARY ACTORS IN
           ORDER FOR THE ENTERPRISE TO FUNCTION

92.    Each Defendant had to aid and abet the actions of the others, or conspire
with the other defendants in order for the enterprise to function.
93.   BASTROP COUNTY CENTRAL APPRAISAL DISTRICT, in the absence
of a rendering statement, listed Claimant's non-commercial property on the
property tax rolls.
94. RICI-JARD PETREE, the acting chief appraiser, rendered Claimant's non-
commercial property for taxation.
95.   BASTROP COUNTY TAX ASSESSOR COLLECTOR in the person of
Linda Harmon, created a tax record as prima facie evidence of a tax liability.
96.   BASTROP INDEPENTENT SCHOOL DISTRICT rendered or caused to be
rendered Claimant's non-commercial property for taxation.
97.  BASTROP ISD Supervisor BARRY EDWARDS knew or should have
known my non-commercial property was listed on the property tax rolls.
98.    BASTROP       COUNTY TAX/ASSESSOR COLLECTOR mailed tax
statements addressed to Claimant.
99.  BASTROP COUNTY TAX/ASSESSOR COLLECTOR LINDA HARMON
knew or should have known that Claimant never rendered his non-commercial
property for taxation.


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 100. BASTROP COUNTY TAX/ASSESSOR COLLECTOR LINDA HARMON
knew or should have known no tax assessments were made against Claimant's
property.
101.. COUNTY OF BASTROP, TEXAS and BASTROP INDEPENDENT
SCHOOL DISTRICT sued Claimant for delinquent property taxes in the amount of
$41,811.78.
102.. The market value       of the property on the date of judgment was valued as
$158,315.00.
            335th
103.. The          JUDICIAL DISTRICT, Judge REBA TOWSLEE-CORBETT
presiding, in addition to signing a monetary judgment, ordered the entire property
to be sold for payment of the judgment.
104.. The BASTROP COUNTY SHERIFF, TERRY PICKERING acting as agent
of the office, then offered the property for sale at a tax sale auction.
105.. The property did not sell at auction.
106. Terry Pickering, on May 8, 2012, created and signed a fraudulent security
entitled "Sheriff's Deed".
107.. The seized property later sold "over counter".
108.. On June 12, 2012, Jim Wither, County Judge       of Bastrop County, reconveyed
my property to Arben Shaholli for $50,000.00 consideration by uttering a forged
instrument.
109.  JIM WITHER, acting as County Judge, signed the TAX RESALE DEED on
June 12, 2012.
110.. It took the concerted effort   of all actors to falsify records, sue, adjudicate,
seize and sell my property.
111.. The COUNTY OF BASTROP had/has no authority to tax my property.
112. The COUNTY OF BASTROP had/has no authority to lien my property.



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113. In order to tax my property, the enterprise had to falsify tax records in order
to convert my non-commercial property to appear as a taxable situs.
114. There is no evidence that my property was the property of a bank, banker or
corporation.
115. There is no evidence that my property earned business income.
116. The enterprise separated me from my property.
117. The enterprise engaged in an unlawful taking.
                             THE PREDICATE ACTS
118.   Richard Petree, acting in his personal capacity as Chief Property Tax
Appraiser, in the absence of a rendering statement, and absent evidence of a
taxable situs, placed my non-commerical property on the tax rolls.
119. Richard Petree mailed Notices          of annual Appraisal values applied to
Claimant's non-commercial property.
120. Barry Edwards and Jim Withers, acting in their personal capacities as taxing
units, agreed that my property was a taxable situs and caused my property to be
placed on the tax rolls.
121.   Linda Harmon,       acting   in    her capacity   as   Bastrop County     Tax
Assessor/Collector, created a record of assessed taxes and delinquent taxes in the
absence of evidence of a taxable situs.
122. Linda Harmon mailed tax statements asserting ad valorem taxes due against
my non-commercial property.
123. The taxing statements were fraudulent securities.
124. Linda Harmon extorted payment through the U.S. Postal Service for the
fraudulent securities using the coercion and threat that if Claimant did not pay, she
would take Claimant's property.
125. Linda Harmon caused, by electronic transmission, Claimant's property to be
named in a Petition for collection of property taxes.

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 126. Judge Reba Towslee Corbett, acting in her personal capacity as the judge         of
     335th
the      Judicial District issued an order for monetary judgment and the sale of
Claimant's property for delinquent property taxes.
 127.Sheriff Terry Pickering, acting in his personal capacity, auctioned off
Claimant's private non-commercial property at a "tax" sale on May 1, 2012.
 128. Sheriff Terry Pickering then issued a Sheriffs Deed for property to which he
held no claim, deed or title.
 129. Jim Withers, acting in his personal capacity signed a Tax Resale Deed, a
fraudulent security appearing to convey interest in Claimant's property to Arben
Shaholli.
130. Each actor played their part in the taking   of Claimant's property.
131. Each actor acted without authority and outside the jurisdiction     of the Law.
132. Without each actor completing their own predicate act, the enterprise could
not have achieved the desired result: the unlawful taking of private non-
commercial property for personal gain.
132. The enterprise engaged in a pattern     of the predicate acts   1   through 132,
every year from 1985 to 2011 until the desired result was consummated.
133. The enterprise continues to engage in the same predicate acts against
Claimant's property.
  COUNT 1: VIOLATION OF THE RACKETEER INFLUENCED AND
CORRUPT ORGANIZATIONS ACT (RICO)(AGAINST THE INDIVIDUAL
  DEFENDANTS FOR CONSPIRACY TO COMMIT A PATTERN OF
               FRAUDS IN VIOLATION OF RICO

134. The preceding paragraphs are incorporated herein as though fully set forth
below.
135.   The enterprise agreed to engage in a series of events that stripped Claimant
of his property and possessions.

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136.   The enterprise, for a number of years, listed, appraised,       calculated and
collected an ad valorem tax against Claimant's non-taxable property.
137. Claimant repeatedly, by public notice, warned future trespassers         of the
consequences of committing trespass.
138. Claimant's notices were ignored.
139.   Claimant gave public notice that his property was not subject to taxation.
140.   Claimant gave public notice that his property was used as a religious
Sanctuary.
141.   The enterprise paid no heed to Claimant's public notices.
142.   The enterprise paid no heed to the property tax laws enacted by the          15th

Texas Legislature with the passing of the Texas Tax Code Act in 1876.
143. The actions    of the enterprise resulted in the unlawful taking of Claimant's
property on July 9, 2012.
144. On July 9, 2012, an order for eviction was signed.
145.   The acts of the enterprise were a violation of 18 U.S.C. § 1962(d).
146.   Therefore, Claimant asserts claims against each individual Defendant in the
enterprise for RICO conspiracies.
                                      FRAUD
147.   The enterprise caused Claimant's property to be listed as a taxable situs on
the Bastrop County property tax rolls when it knew or should have known the
property was not owned by a bank, banker or corporation.
148. The enterprise presented documents through the U.S. Postal service claiming
the taxable appraisal value of Claimant's property.
149.   The enterprise presented documents through the U.S Postal service claiming
Claimant owed a debt or obligation on his property.
150.   The documents were counterfeit securities.


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 151. The enterprise knew or should have known no commercial business was
conducted on Claimant's property.
152.    The enterprise knew or should have known the property was not owned by a
bank, banker or corporation.
153.    When Claimant did not submit to payment of the inducement, the enterprise
engaged in an unlawful taking.
154. After the taking, the enterprise uttered a fraudulent security for personal
gain.
                                     TRESPASS
155.    In 2005, Claimant noticed the public of ownership of Lot #30, Escondido
Estates, Bastrop County, Texas.
156.    Claimant's notice claimed possession, the Right of possession and the Right
of property.
157. Despite the public notice, the enterprise made unauthorized entries on
Claimant's land.
158.    The enterprise did not have Claimant's consent nor authorization to enter
upon his property.
159.    The enterprise committed trespass on Claimant's property.
                               UNLAWFUL TAKING
160. The enterprise did not own nor have an interest in Claimant's property.
161. The enterprise did not own any portion    of Claimant's property.
162. The enterprise held no title to Claimant's property.
163     The enterprise knew Claimant's property was not a taxable situs.
164.    The enterprise did not conduct an eminent domain proceeding.
165.    The enterprise had no materials, labor or sweat equity in Claimant's
property.


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166.   When it sold Claimant's property with no evidence of ownership of the
property, it engaged in an unlawful taking.
167.   There is a maxim of law which states, "One cannot sell that which it does
not own."
168. The enterprise never had ownership of Claimant's property.
169. Reba Towslee Corbett issued an order for sale on ajudgment of $41,811.78.
170    Sheriff Pickering auctioned the property on May    1,   2012 for unpaid taxes of
$41,811.78.
171. In the Judgment, Claimant's property was valued at $158,315.00.
172. The enterprise issued a Sheriffs deed giving ownership to the tax
assessor/collector
173. Claimant owned, in fee simple, the 5.35 acres and everything on the
property.
174.   The enterprise assumed dominion and control over the property in an
unlawful and unauthorized manner, to the exclusion of and inconsistent with
Claimant's Rights.
175. Dean Rizer demanded Claimant's property from the enterprise.
176.   The enterprise refused to return the property.
                                  CONVERSION
177.   Dean Rizer owned Claimant's property.
178. Dean Rizer had legal possession     of Claimant's property.
179. Dean Rizer was entitled to possession     of Claimant's property.
180. The enterprise, by uttering counterfeit documents, converted Claimant's
property to its own.
181.   The enterprise did so in an unlawful and unauthorized manner to the
exclusion of and inconsistent with Claimant's Rights.


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                           COUNTERFEIT SECURITY
182.   A counterfeit security, pursuant to 18 Usc §2311 includes "evidence of
indebtedness".
183.   The property appraisals BASTROP COUNTY CENTRAL APPRAISAL
DISTRICT mailed to Claimant were counterfeit securities.
184. The property tax bills from the BASTROP COUNTY TAX/ASSESSOR's
office mailed to Claimant were counterfeit securities.
185. The Resale Tax Deed issued to another was a counterfeit security.
                 FIRST CLAIM FOR RELIEF
FOR VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
               ORGANIZATIONS ACT 1"RICO"l
                                 (18 U.S.C. § 1961)
                               [Against all Defendants]

186. Plaintiff incorporates by reference the allegations above as     if fully set forth
herein.
187. The Defendants are all "persons" pursuant to 18 U.S.C. § 1961.
188.   Collectively, the Defendants operated as an "enterprise" through which
private non-commercial property is placed on the tax roles as property exercising a
taxable privilege and owned by a bank, banker or corporation.
189. The enterprise then defrauds and extorts payment for property that is not
taxable.
190. When Claimant did not pay the extortion, Defendants deprived Claimant of
the Pursuit of Happiness, the Right to property, Right to Possession, and
Possession by taking his property.
191.   By and through the above described acts, as set forth above, the Defendants
operate a criminal enterprise in which each of the parties plays a specific role.
       1) Petree acting as BASTROP COUNTY CENTRAL                       APPRAISAL
DISTRICT makes an appraisal of the property, thus falsifying documents to turn

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non-commerical property into a commercial property owned by a bank, banker or
corporation;
       2) BASTROP COUNTY, through its tax assessor/collector issues counterfeit
securities enumerating a debt owed by the property owner.
       3) When the non-commercial property owner does not pay the extorted tax,
BASTROP COUNTY contracts to bring suit against the property owner to either
force him to pay tax and accumulated interest on fees on his non-commercial
property or, if the property owner does not pay, to bring suit for the property.
       4) A special state district court, sitting in "property tax jurisdiction", issues
orders to sell the entire property for payment of the alleged tax debt.
       5) The Sheriff sells the property that neither he nor the County owns and
issues a counterfeit security in the form of a Sheriff's Deed.
192. The Defendants' enterprise has a defined decision-making structure. Each
Defendant works in coordination with the other Defendants. Each having his/her
own particular contribution to the overall crime.
193. The coordinated decision-making structure is long standing, spanning
several decades in the instant case.
194.The Defendants have used the mails and wires on behalf of themselves to
communicate fraudulent securities in pursuit of their enterprise.
195. The Defendants have received money and property from their enterprise in
order to generate revenue.
196. By the above described acts, the Defendants have intentionally inflicted
substantial and serious injury on Claimant and his family.




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                   SECOND CLAIM FOR RELIEF
       FOR AIDING AND ABETTING PRIMARY CONTRAVENTION
                    OF RICO SECTION 1962(C)
                                   (18 U.S.C. § 1962)
                                 [Against all Defendants]
197.      For Claimant's Second Claim for Relief, he realleges and incorporates
Paragraphs   1   through 196, and each and every claim for relief asserted pursuant to
the Federal Racketeer Influenced and Corrupt Organizations Act of 1970
["RICO"][Title 18 U.S.C.     §   1961 et.seq.].
198.      Claimant alleges that the Defendants employed the federal mails and/or
federal interstate wires, engaged in federal extortion, and as well as engaged in
racketeering activity as alleged herein, to aid and abet the primary RICO   §   1962(c)
contraventions committed by the Defendants as alleged herein above.
199.  Claimant alleges that the Defendants were knowledgeable and aware of the
commission of the primary RICO contraventions committed, and that the
Defendants substantially assisted in the commission of the primary RICO
contraventions by the Defendants, thereby deriving a monetary benefit as a result
to Claimant's detriment.
200.       Claimant is entitled to recover, pursuant to Title 18 U.S.C. §1964(c),
treble damages in the amount to be determined by offer of proof at time of trial.
201. Claimant is also entitled to recover attorneys' fees and costs of this
litigation, as well as damages arising from lost use of my home and compensation
for being homeless which is attributable to the activities engaged in by the
Defendants committed in furtherance of the Racketeer Influenced and Corrupt
Organizations Act of 1970 ["RICO"][Title 18 U.S.C. § 1961 et.seq.].




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                 THIRD CLAIM FOR RELIEF FOR
  AIDING AND ABETTING A RICO SECTION 1962(D) CONSPIRACY IN
           CONTRAVENTION OF RICO SECTION 1962(C)
              (18 USC § 2(a)-(b) and §1962(c)-1962(d)]
                                 [Against all Defendants]

202.       For the Third Claim for Relief, Claimant realleges and incorporates
Paragraphs 1 through 201, and each and every claim for relief asserted pursuant to
the Federal Racketeer Influenced and Corrupt Organizations Act of 1970
["RICO"][Title 18 U.S.C. § 1961 et.seq.].
203.       Claimant alleges that the Defendants' conduct constituted aiding and
abetting a RICO § 1962(d) conspiracy inasmuch as the Defendants were:
       1.   associated with a criminal venture as alleged herein;
       2. that the Defendants participated in the criminal venture as something the
            Defendants wished to bring about; and,
       3. that the Defendants sought by their actions to make it succeed.
204.     Claimant alleges that the Defendants were knowledgeable and aware of
the commission of the primary RICO contraventions committed, and that the
Defendants substantially assisted in the commission of the primary RICO
contraventions, thereby deriving a monetary benefit as a result to Claimant's
detriment.
205. Claimant alleges that the Defendants aided and abetted a RICO Section
 1962(d) conspiracy between said Defendants to contravene RICO Section 1962(c)
to injure, damage, and take my personal private property for gain.
206. Claimant alleges that the Defendants are conspiratorially liable under
application of the Pinkerton Doctrine [Pinkerton, v. United States, 328 U.S. 640
(1946) and Salinas,    United States, 522 U.S. 52 (1997)] for the substantive
                          v.

RICO Section 1962(c) contraventions committed by defendant inasmuch as:


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      1.   The Defendants engaged in the fraudulent activities that constitute the
           RICO § 1961(5) pattern of racketeering activity;
      2. The Defendants are members      of the RICO § 1962(d) conspiracy designed
           and intended to contravene RICO     §   1962(c);
      3. The Defendants engaged in activities in furtherance   of advancing and
           promoting the RICO § 1962(d) conspiracy.
                  FOURTH CLAIM FOR RELIEF
 CIVIL RIGHTS ACT OF 1871 DEPRIVATION OF RIGHTS, PRIVILEGES,
         AND IMMUNITIES UNDER COLOR OF STATE LAW
                           (42 U.S.C. § 1983, 1985, & 1986)
                               [Against All Defendants]

207. Claimant incorporates by reference the allegations contained above as           if
fully set forth herein.
208. By the above described conduct, Defendants, in their official roles, have
deprived Claimant of property and liberty interests acting under color of law
without the procedural and substantive due process rights enumerated by the
Declaration of Independence and guaranteed under the First, Fourth, Fifth, Eighth
and Fourteenth Amendments to the United States Constitution and Article 1,
Section 19 of the Constitution of the State of Texas.
209. All actors conspired to falsely claim a debt and then to unlawfully take
Claimant's non-commercial personal property without due process or ownership
interest of any kind.
210    As a direct and proximate result of Defendants' conduct in violation of 42
U.S.C. § 1983, Claimant has sustained injury and damages for which he seeks
redress.
211. Upon information and belief, unless permanently enjoined by this Court,
Defendants will continue to injure Claimant and others, in a manner for which
there is no adequate equitable remedy.

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                   FIFTH CLAIM FOR RELIEF
        VIOLATION OF BILL OF RIGHTS EIGHTH AMENDMENT

212. The enterprise has acted against Claimant in violation of the Excessive Fines
Clause of the Eighth Amendment.
213. The enterprise has, by color of law, subjected Claimant to forfeiture of
property.
214. The enterprise has seized Claimant's property in an in rem civil forfeiture
proceeding.
215. The U. S. Supreme Court in Austin       v.   United States, (509 U.S.602, 1993)
concluded that "the Eighth Amendment was intended to prevent the government
from abusing its power to punish, and therefore that "the Excessive Fines Clause
was intended to limit only those fines directly imposed by, and payable to, the
government."
216. The enterprise could not demand taxes, get a judgment and exact an
additional "fine".
217. In order to constitute a fine under the Eighth Amendment, the forfeiture
must constitute "punishment".
218. The theory of in rem forfeiture is said to be that the lawful property has
committed an offense.
219. The taking of property in a civil case is punitive and the taking of the entire
property for perceived non-payment of a tax is the very definition of excessive fine
and punishment.
220. The enterprise seized Claimant's property by forfeiture.
221. It did not matter whether the charge against Claimant was criminal or civil,
the enterprise inflicted punishment on Claimant.




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222. The Excessive Fines Clause limits the government's power to extract
payments, whether in cash or in kind, as punishment for some offense.     Sanders   v.

Szubin,   828 F.Supp. 2d 542 (D.C.ED New York, 2011).
223. To seize a man's property is one of the worst forms of punishment that can
be inflicted.
224. The enterprise cannot justify its seizure actions, they were unconscionable.
                         SIXTH CLAIM FOR RELIEF
                       TEXAS THEFT LIABILITY ACT

          (TEXAS CIVIL PRACTICE & REMEDIES CODE §134.001-005)

225. Claimant incorporates by reference the allegations contained above as          if
fully set forth herein.
226. The Defendants, by and through the conduct described above, committed
theft by intentionally submitting fraudulent invoices to Claimant in order to falsify
prima facie evidence of delinquent debt with knowledge that Claimant's property
was not subject to taxation.
227. At all times, Defendants threatened to take Claimant's property if he did not
pay, all the while extorting and pressuring him to pay a tax he did not owe.
228. Claimant has suffered injury and damages from each instance of fraud and
attempted fraud committed by the Defendants, both individually and cumulatively,
and is entitled to relief under Texas Civ.Prac.& Rem. Code § 134.005.
                       SEVENTH CLAIM FOR RELIEF
                                FRAUD
229. Claimant incorporates by reference the allegations contained above as          if
fully set forth herein.




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 230. The Defendants, by and through the conduct described above, committed
 fraud in each instance in which they deliberately misrepresented the truth to
 Claimant, the courts and the general public, or others persons described above.
 231. Claimant suffered injury and damages from each instance of fraud
committed by the Defendants, both individually and cumulatively.


                        EIGHTH CLAIM FOR RELIEF
                             CONVERSION

232. Claimant incorporates by reference the allegations contained above as if
fully set forth herein.
233. The Defendants, by and through the conduct described above, committed
conversion in each instance in which they obtained funds from sale of Claimant's
non-commercial property by creating a deed to Claimant's property for their own
benefit and use when they had no ownership in the property.
234. Had Claimant owed a valid property tax, i.e., if Claimant was a bank, banker
or corporation, the court could have obtained a judgment against the Claimant
and/or his property.
235. However, to take possession and ownership of a property for an alleged debt
is an Eight Amendment violation, and a RICO act.
                  NINTH CLAIM FOR RELIEF
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

236.. Claimant incorporates by reference the allegations contained above as if
fully set forth herein.
237.. The Defendants intended, by the unlawful actions described above, to inflict
severe emotional distress upon Claimant.




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238. Anyone who has ever been made homeless knows that Claimant has been
seriously and substantially injured by these actions and has suffered damages as a
result.

                                 REQUEST FOR RELIEF

          Wherefore, Claimant requests judgment against the Defendants, as follows:

   1.     That the Defendants be held liable for all damages, in the liquidated amount
          of $10 million or a more substantive amount proved at trial, suffered by
          Claimant resulting from the acts alleged herein;
   3. For an award       of treble damages pursuant to the First Cause of Action, as,
          provided by statute;
   4. For an award      of punitive damages to be determined at trial against each of
          the Defendants;
   5. For an award of Claimants costs and reasonable attorneys' fees;
   6. For such other and further relief as the Court deems just and proper.


                              DEMAND FOR JURY TRIAL


   Claimant, Dennis Rizer, demands trial by jury of all matters so triable as a
          matter of Right pursuant to Rule 38 of the Federal Rules of Civil Procedure.


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                                                 Attorney-in-fact
                                                 do 6715 Skynook Drive
                                                 Austin, Texas 78745
                                                 (512) 693-1421



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                             GLOSSARY OF TERMS
Ad Valorem tax: According to value. A tax imposed on the value of property.
The more common ad valorem tax is that imposed by states, counties, and cities on
real estate. Ad valorem taxes, can, however, be imposed upon personal property;
e.g. a motor vehicle tax may be imposed upon the value of an automobile and is
therefore deductible as a tax. A tax levied on property or an article of commerce in
proportion to its value, as determined by assessment or appraisal. Callaway v. City
of Overland Park, 211 Kan. 646, 508 P.2d 902,907.
       Duties are either ad valorem or specific,; the former when the duty is laid in
the form of a percentage on the value of the property; the latter where it is imposed
as a fixed sum on each article of a class without regard to its value.

Business Situs: A situs acquired for tax purposes by one who has carried on a
business in the state more or less permanent in its nature. A situs arising when
notes, mortgages, tax sale certificates and the like are brought into the state for
something more than a temporary purpose, and are devoted to some business use
there and thus become incorporated with the property of the state for revenue
purposes. A situs arising where possession and control of property right has been
localized in some independent business or investment away from owner's domicile
so that its substantial use and value primarily attach to and become an asset of the
outside business. State v. Atlantic Oil Producing Co, 174 Okl. 61, 49 P.2d 534,
538.

Convert: See Conversion. Black's Law Dictionary 6th Edition.

Conversion : the wrongful exercise of dominion and control over another's
property in denial of or inconsistent with his rights. Waisath v. Lack's Stores, Inc.,
474 S.W.2d 444,(Tex. 1971)
       The unauthorized and wrongful assumption and exercise of dominion and
control over the personal property of another, to the exclusion of or inconsistent
with the owner's rights, is in law, a conversion. It is unnecessary to a conversion
that there be a manual taking of the property. First State Bank Morton v. Chesshir,
634 S.W.2d 742, 745, (Tex.App.Amarillo 1982, writ ref d n.r.e.)

Counterfeit security A document which purports to be from a lawful authority,
such as a State or a political subdivision thereof, that includes "evidence of
indebtedness" with intent to deceIve another person into believing they owe a debt,
when in fact, they do not.


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In this State. "In this state" means within the exterior limits of Texas and includes
all territory within these limits ceded to or owned by the United States.
Texas Tax Code §151.004.

Judicial sale Sale conducted under a judgment, order, or supervision of a court as
in a sale under a petition for partition of real estate or an execution or a foreclosure
sale. One which must be based upon an order or a decree of a court directing the
sale. Petition of Acchione, 425 Pa. 23, 227 A.2d 816, 821, 823. Black's Law
Dictionary 6th Edition.

Jurisdiction A term of comprehensive import embracing every kind of judicial
action. Federal Land Bank of Louisville Ky. V. Crombie, 258 Ky. 382, 80 S.W.2d
39, 40. I is the power of the court o decide a matter in controversy and presupposes
the existence of a duly constituted court with control over the subject matter and
the parties. Pinner v. Pinner, 33 N.C.App. 204, 234 S.E.2d 633. Black's Law
             6th
Dictionary      Edition.

Le2al subdivision. Division of land which results from application of ordinary
methods used in making of a governmental survey. Black's Law Dictionary 6th
Edition.

Person In general usage, a human being (i.e. natural person), though by statute
term may include labor organizations, partnerships, associations, corporations,
legal representatives, trustees, trustees in bankruptcy, or receivers. Black's Law
Dictionary 6th Edition.

Political subdivision. A division of the state made by proper authorities thereof,
setting within their constitutional powers, for purpose of carrying out a portion of
those functions of state which by long usage and inherent necessities of
government have always been regarded as public. State ex rel. Maisano v.
Mitchell, 156 Conn. 256,, 231 A.2d 539. 542. Black's Law Dictionary 6th Edition.

Private property As protected from being taken for public uses, is such property
as belongs absolutely to an individual, and of which he has the exclusive right of
disposition. Property of a specific, fixed and tangible nature, capable of being in
possession and transmitted to another, such as houses, lands, and chattels.
Scranton v. Wheeler, 179 U.S. 141, 21 S.Ct. 48, 45 L.Ed. 126. Black's Law
Dictionary 6th Edition.



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Property means any matter or thing capable of private ownership. Texas Tax Code
definitions.

Real Property:      Land, and generally whatever is erected or growing upon or
affixed to land. Also rights issuing out of, annexed to, and exercisable within or
about land. A general term for lands, tenements, and hereditaments; property
which, on the death of the owner intestate, passes to his heir. Black's Law
Dictionary 6th Edition.

Real or immovable property consists of: Land; that which is affixed to land; that
which is incidental or appurtenant to land; that which is immovable by law; except
that for the purposes of sale, emblements, industrial growing crops and things
attached to or forming part of the land, which are agreed to be severed before sale
or under the contract of sale, shall be treated as goods and be governed by the
regulating of the sales of goods. Black's Law Dictionary 6th Edition.

Rendition generally: (a) Except as provided by Chapter 24, a person shall render
for taxation all tangible personal property used for the production of income that
the person owns or that the person manages and controls as a fiduciary on January
 1. A rendition statement shall contain: (4) the physical location or taxable situs of
the property. Texas Tax Code Sec. 22.01

Sheriff's Deed A document giving ownership right in property to a buyer at a
sheriff's sale (i.e. a sale held by a sheriff to pay a court judgment against the owner
of the property). Deed given at sheriff's sale in foreclosure of a mortgage. The
giving of said deed begins a statutory redemption period. Black's Law Dictionary
6th
      Edition

Sheriff's Sale. A sale, commonly by auction, conducted by a sheriff or other court
officer to carry out a decree of execution or foreclosure issued by a court.
Examples include sales pursuant to attachments, liens and mortgage defaults. See
Judicial sale. Black's Law Dictionary 6th Edition.

 Situs. Situation; location; e.g. location or place of crime or business. Site;
position; the place where a thing is considered, for example with reference to
jurisdiction over it, or the right or power to tax it. It imports fixedness of location.
 Situs of property, for tax purposes, is determined by whether the taxing state has
sufficient contact with the personal property sought to be taxed to justify in


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fairness the particular tax. Town of Cady v. Alexander Const. Co., 12 Wis.2d 236,
197 N.W.2d 267, 270.
       Generally, personal property has its taxable "situs": in that state where
owner of it is domiciled. Smith v. Lummus, 149 Fla. 660, 6 So.2d 625, 627, 628.
Situs of a trust means place of performance of active duties of trustee. Campbell v.
Albers, 313 Ill.App. 152, 39, N.IE.2d 672, 676. Black's Law Dictionary, 6th
Edition.

State means a state of the United States, the District of Columbia, the
Commonwealth of Puerto Rico, or any territory or possession of the United States.
Texas Tax Code Title 2, State Taxation, Art. II. Definitions

State means a State of the United States, the District of Columbia, Puerto Rico, the
 United States Virgin Islands, or any territory or insular possession subject to the
jurisdiction of the United States. Texas Business and Commerce Code Sec. 1.20 1
 GENERAL DEFINITIONS (b)(38).

State, when referring to a part of the United States, includes any state, district,
commonwealth, territory, and insular possession of the United States and any area
subject to the legislative authority of the United States. Sec. 311.005 Texas Code
Construction Act, Government Code.

Taxpayer Taxpayer means a person liable for a tax, fee, assessment, or other
amount imposed by a statute or under the authority of a statutory function
administered by the comptroller. Texas Tax Code Chapter 101.003 Definitions

Taxpayer means any corporation, partnership, firm, association, governmental
unit or agency or person acting as a business entity in more than one state. Texas
Tax Code Chapter 141. Multistate Tax Compact 141.001 Art. II, (3).

Uttering a forged instrument The crime of passing a false or worthless
instrument, such as a check or counterfeit security, with the intent to defraud or
injure the recipient. Black's Law Dictionary 6th Edition.

Declaration of Independence

¶ 2 We hold these truths to be self-evident, that all men are created equal, that
they are endowed by their Creator with certain unalienable Rights, that among
these are Life, Liberty and the pursuit of Happiness.


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¶3      That to secure these rights, Governments are instituted among Men, deriving
their just powers from the consent of the governed.


Texas Constitution

Art. 8, Sec. 1 (a) Taxation shall be equal and uniform.
 (b) All real property and tangible personal property in this State, unless exempt as
 required or permitted by this Constitution, whether owned by natural personas or
 corporations, other than municipal, shall be taxed in proportion to its value, which
 shall be ascertained as may be provided by law.
 (d) The Legislature by general law shall exempt from ad valorem taxation
household goods not held or used for the production of income and personal effects
not held or used for the production of income. The Legislature by general law may
exempt from ad valorem taxation:
        (1) all or part of the personal property homestead of a family or single
adult, "personal property homestead" meaning that personal property exempt by
law from forced sale for debt;
        (2)    subject to Subsections (e) and (g) of this section, all other tangible
personal property, except structures which are personal property and are used or
occupied as residential dwellings and except property held or used for the
production of income;
(e) The governing body of a political subdivision may provide for the taxation of
all property exempt under a law adopted under Subdivision (2) or (3) of Subsection
(d) of this section and not exempt from ad valorem taxation by any other law.

Art. 11, Sec. 1 COUNTIES AS LEGAL SUBDIVISIONS. The several counties
of this State are hereby recognized as legal subdivisions of the State.




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